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                     IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO
                             Judge R. Brooke Jackson

Criminal Action No.: 21-cr-00229-RBJ

UNITED STATES OF AMERICA,
      Plaintiff,
v.

1. DAVITA INC.,

2. KENT THIRY,

      Defendants.



                       ORDER GRANTING ALTERNATIVE
               CRIME VICTIM NOTIFICATION UNDER 18 U.S.C. § 3771



      This matter comes before the Court on the United States’ Motion for Alternative

Victim Notification Under 18 U.S.C. § 3771 (Dkt. No. 27). The Court, being fully

advised, grants the Motion. Accordingly, it is

      ORDERED that the government may notify victims in this case in accordance

with the procedures set out in the government’s motion.


      DATED this ______ day of July, 2021.


                                             BY THE COURT:

                                             _______________________
                                             R. BROOKE JACKSON
                                             United States District Judge
